            Case 2:11-cr-00215-JLR             Document 74    Filed 08/01/11        Page 1 of 2




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR11-215-JLR

10          v.                                           DETENTION ORDER

11 ANTHONY JEROME BONDS,

12                                Defendant.

13 Offenses charged:

14          Conspiracy to Utter Counterfeit Obligations or Securities. (3 Counts)

15 Date of Detention Hearing: August 1, 2011.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant has a criminal history including convictions for burglary, assault possession of

23 controlled substances. His history of drug offenses indicates he has as substance abuse problem,



     DETENTION ORDER - 1
              Case 2:11-cr-00215-JLR        Document 74        Filed 08/01/11      Page 2 of 2




 1 the full extent of which is not yet known. He lacks a stable residence and gave the U.S. Pretrial

 2 Office inaccurate information about where he was living prior to his arrest. At present, he has no

 3 residence to which he can be released.

 4          It is therefore ORDERED:

 5          (1)    Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7 from persons awaiting or serving sentences, or being held in custody pending appeal;

 8          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined

12 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

13 connection with a court proceeding; and

14          (4)    The clerk shall direct copies of this order to counsel for the United States, to

15 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

16 Officer.

17       DATED this 1st day of August, 2011.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
